IN THE SUPREME COURT OF TEXAS


                              ((((((((((((((((
                                 No. 08-0990
                              ((((((((((((((((

  Anthony Authorlee, Dexter Burnett, Robert Derousselle, John Henry Young,
              Jerome Stubblefield And Floyd Moran, Petitioners

                                     v.

  Tuboscope Vetco International, Inc., AMF Incorporated and Minstar, Inc.,
                                 Respondents

            ((((((((((((((((((((((((((((((((((((((((((((((((((((
                           On Petition for Review
            ((((((((((((((((((((((((((((((((((((((((((((((((((((


      ORDER

      1.    Pursuant to the notice of bankruptcy  of  Minstar,  Inc.,  filed
with this Court on June 17, 2009, this case is ABATED effective as  of  June
1, 2009.
      2.    This case is abated pursuant  to  Tex.  R.  App.  P.  8.2  until
further order of this Court and is removed from the Court's  active  docket,
subject to reinstatement upon proper motion.  Tex.  R.  App.  P.  8.3.   All
motions and other documents pending or filed are  abated  subject  to  being
reurged in the event the case is reinstated.  Tex. R. App. P. 8.2  and  8.3.
It is the parties' responsibility to immediately notify this Court once  the
automatic bankruptcy stay is lifted.

      Done at the City of Austin, this 26th day of June, 2009.

                                       [pic]
                                       Blake A. Hawthorne, Clerk
                                       Supreme Court of Texas


                                       By Claudia Jenks, Chief Deputy Clerk




